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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

                              CASE NO.: 6:18-CV-01343-RBD-KRS

BRYAN E. GLYNN,

                Plaintiff,

v.

JIMMY'S CIGAR LOUNGE, "LLC" AND
IMMERSE MARKETING, LLC,

                Defendants.


                    NOTICE OF VOLUNTARY DISMISSAL
     OF DEFENDANT IMMERSE MARKETING, LLC, ONLY, WITHOUT PREJUDICE

        Plaintiff BRYAN E. GLYNN, by and through his undersigned counsel, and pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(i), hereby dismisses the instant lawsuit against Defendant Immerse

Marketing, LLC, only, without prejudice, with each party to bear its own costs, attorneys’ fees

and expenses.

Dated: September 28, 2018

                                             /s/ Alexander C. Cohen
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